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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF VIRGINIA
                          Alexandria Division
 UNITED STATES OF AMERICA            )
                                     )
         v.                          )    Case No. 1:16CR228
                                     )
 RUSLANS BONDARS                     )
                                     )
         Defendant.                  )



                       SUBSTITUTION OF COUNSEL ORDER

        Comes now Defendant, Ruslans Bondars, and moves this court to substitute

 counsel in the aforementioned case; it is hereby

      ORDERED that Mr. MacMahon, Esq. and Mr. Horowitz, Esq., be allowed to

 withdraw as counsel of record for the defendant in the above-styled case, and that Jessica

 N. Carmichael, Esq. of the firm of Harris Carmichael & Ellis, PLLC be substituted as

 counsel of record.

      ENTERED this ____ day of ____________________ 2017.


                              ____________________________________
                                             Judge
